       Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 1 of 22




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                  MIDLAND-ODESSA DIVISION

MARILYN CASTILLO,                                       §
MELANIE MELENDEZ, and all others                        §
similarly situated under 29 USC § 216(b),               §
                                                        §
        Plaintiffs,                                     §
                                                        §
v.                                                      §     CASE NO. 7:23-CV-00168
                                                        §     JURY DEMANDED
HANDS OF COMPASSION HOME CARE,                          §
LLC, LIFESPRING HOME CARE AND                           §
HOSPICE, LLC, DEACONESS                                 §     Collective Action pursuant to
HEALTHCARE HOLDINGS, INC. and                           §     29 U.S.C. § 216(b)
KAREN VAHLBERG,                                         §
                                                        §
        Defendants.                                     §


             PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

TO THE HONORABLE JUDGE OF SAID COURT

        COME NOW Plaintiffs Marilyn Castillo and Melanie Melendez, and all other similarly

situated under 29 USC § 216(b) (collectively referred to as the “Plaintiffs”), asking the Court to

deny Defendants’ Deaconess Healthcare Holdings, Inc. (“Deaconess”), Karen Vahlberg

(“Vahlberg”), and LifeSpring Home Care and Hospice, LLC (“LifeSpring”) (collectively referred

to as the “Defendants”) Rule 12(b)(2) and 12(b)(6) Motion to Dismiss, and would show the

Court as follows:

                                           I.      INTRODUCTION

        1.       Plaintiffs sued Defendants for failing to pay Plaintiffs and the FLSA Collective all

their standard and overtime pay as required by the Fair Labor Standards Act (“FLSA”).

        2.       On January 2, 2024, Defendants Deaconess and Vahlberg filed their first Motion

to Dismiss (Doc. 13) alleging that the Court does not have personal jurisdiction over Defendants


Plaintiffs’ Response to Defendants’ Motion to Dismiss                                          Page 1
       Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 2 of 22




and that Plaintiffs’ Complaint failed to allege sufficient facts to show that Defendants were joint

employers.

        3.       In response to Defendants’ first Motion to Dismiss, Plaintiffs filed their Amended

Complaint (Doc. 17) and added Lifespring as a new Defendant.

        4.       Next, on January 26, 2024, Defendants Deaconess, Vahlberg, and Lifespring all

filed their second Motion to Dismiss (Doc. 28), to which Plaintiffs file this Response.

        5.       Defendants’ Motion argues in favor of a higher pleading standard than what is

required under the rules and at the initial pleading stage. In effect, Defendants want Plaintiffs to

prove their case now, which is not required to defeat Defendants’ Motion.

        6.       Plaintiffs’ Amended Complaint meets its pleading burden by making a prima

facie showing that the Court has personal jurisdiction over Defendants by specifically alleging

facts that show Defendants are joint employers of Plaintiffs and how Defendants are all

interrelated.

                               II.     ARGUMENTS AND AUTHORITIES

    A. Standard of Review

        7.       When defendants challenge personal jurisdiction under Rule 12(b)(2), plaintiffs

have the burden of “mak[ing] a prima facie showing that personal jurisdiction is proper” and the

court “must accept the plaintiff's uncontroverted allegations, and resolve in [his] favor all

conflicts between the facts contained in the parties' affidavits and other documentation.”

Monkton Ins. Servs., Ltd. v. Ritter, 768 F.3d 429, 431 (5th Cir. 2014) (internal citations omitted).

        8.       Courts may exercise specific jurisdiction over a nonconsensual nonresident if the

nonresident has contacts with the forum state that “arise from or are directly related to the cause

of action.” E.S. v. Best W. Int'l, Inc., 510 F. Supp. 3d 420, 433 (N.D. Tex. 2021) (internal



Plaintiffs’ Response to Defendants’ Motion to Dismiss                                         Page 2
       Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 3 of 22




citations omitted). For an analysis of specific jurisdiction, the Fifth Circuit mandates a three-step

inquiry: (1) whether the defendant has minimum contacts with the forum state, i.e., whether the

defendant directed its activities toward, or purposefully availed itself of the privileges of the

forum state; (2) whether the plaintiff’s claims arises out of or results from defendant’s contacts;

and (3) whether exercising personal jurisdiction is fair and reasonable.” Monkton, 768 F.3d at

433. Establishing the first two prongs shifts the burden to the defendant to show that it would not

be fair or reasonable to exercise personal jurisdiction over it. Id.

        9.       The minimum contacts test is fact-intensive and focuses on “whether the

defendant's conduct shows that it reasonably anticipates being haled into court [in the forum

state].” McFadin v. Gerber, 587 F.3d 753, 759 (5th Cir. 2009) (internal citation omitted).

        10.       The United States Supreme Court, in Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555-56 (2007), set the latest standard for the sufficiency of pleadings, recognizing that “Federal

Rule of Civil Procedure 8(a)(2) requires only ‘a short and plain statement of the claim showing

that the pleader is entitled to relief,’ in order to ‘give the defendant fair notice of what the . . .

claim is and the grounds upon which its rests.’” The Court held that “a complaint attacked by a

Rule 12(b)(6) motion to dismiss does not need detailed factual allegations,” but requires

sufficient facts to demonstrate entitlement to relief above the speculative level. Id. (emphasis

added). In Twombly, the Court explained that allegations require factual pleadings which “raise

a reasonable expectation that discovery will reveal evidence of [the cause of action].” Id.

However, “a well-pleaded complaint may proceed even if it strikes a savvy judge that actual

proof of those facts is improbable, and ‘that a recovery is very remote and unlikely.’” Id.

        11.      The Court further addressed the sufficiency of pleadings in Iqbal v. Ashcroft, 556

U.S. 662 (2009). In Iqbal, the Supreme Court suggested that a court can begin its analysis of a



Plaintiffs’ Response to Defendants’ Motion to Dismiss                                           Page 3
       Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 4 of 22




Rule 12(b)(6) motion by identifying conclusory pleadings not supported by factual allegations,

and which are entitled to no presumptive benefit. Id. at 679. However, “[w]here there are well-

pleaded factual allegations, a court should assume their veracity and then determine whether they

plausibly give rise to an entitlement to relief.” Id.

        12.      While the Court’s recent rulings in Twombly and Iqbal enacted a change in

federal pleading standards (see generally Arthur R. Miller, From Conley to Twombly to Iqbal: A

Double Play on the Federal Rules of Civil Procedure, 60 Duke L.J. 1 (2010)), those cases do not

represent a sea change in pleading practice. The net result of Twombly and Iqbal is to merely

impose a requirement that a plaintiff supply a sufficient level of factual allegations that allows a

judge—based on their “experience and common sense”—to conclude that a complaint presents a

plausible claim for relief, after construing the facts in the light most favorable to the plaintiff. See

Iqbal, 129 S. Ct. at 1950; Harold H. Huggins Realty, Inc. v. FNC, Inc., 634 F.3d 787, 803 n. 44

(5th Cir. 2011) (citations omitted) (noting that Twombly and Iqbal do not alter the longstanding

standard of review).

        13.      As the Fifth Circuit has noted in cases since Twombly and Iqbal, motions filed

under Federal Rule Civil Procedure 12(b)(6) are still “viewed with disfavor, and are rarely

granted.” Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 232 (5th Cir. 2009) (emphasis added)

(quoting Twombly); Harold H. Huggins Realty, Inc., 634 F.3d at 803 n.44 (citations omitted).

        14.      Thus, post-Twombly and Iqbal, under Rule 12(b)(6), the basic standard of review

remains unchanged—“[t]he court's review is limited to the complaint, any documents attached to

the complaint, and any documents attached to the motion to dismiss that are central to the claim

and referenced by the complaint.” Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d

383, 387 (5th Cir. 2010). “The court’s task is to determine whether the plaintiff has stated a



Plaintiffs’ Response to Defendants’ Motion to Dismiss                                             Page 4
       Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 5 of 22




legally cognizable claim that is plausible, not to evaluate the plaintiff's likelihood of success.” Id.

Furthermore, “Iqbal and Twombly's emphasis on the plausibility of a complaint's allegations does

not give district courts license to look behind those allegations and independently assess the

likelihood that the plaintiff will be able to prove them at trial.” Harold H. Huggins Realty, Inc.,

634 F.3d at 803 n.44.

    B. Plaintiffs’ First Amended Complaint makes a prima facie case that the Court has
       personal jurisdiction over Defendants.

        15.      Plaintiffs make a prima facie showing that the Court has specific personal

jurisdiction over Defendants. Specifically, Plaintiffs’ First Amended Complaint pleads that

Deaconess is the parent corporation of Hands of Compassion Home Care, LLC and both have the

same mailing address of 615 Elsinore Place, Suite 900, Cincinnati, Ohio 45202, which is set

forth in Hands of Compassion Home Care, LLC’s 2022 Texas Franchise Tax Public Information

Report, and also on the deaconess-healthcare.com website. See Doc 17, ¶ 10; Exhibit 1, (Hands

of Compassion Home Care, LLC’s 2022 Texas Franchise Tax Public Information Report);

Exhibit 2, (deaconess-healthcare.com website, page 3).

        16.      Plaintiffs also make a prima facie showing that the Court has personal jurisdiction

over Vahlberg. Specifically, Plaintiffs’ First Amended Complaint pleads that Vahlberg is the

CEO of Defendant Hands of Compassion Home Care, LLC, and that she shares a mailing

address with Deaconess, which is set forth in Hands of Compassion Home Care, LLC’s 2022

Texas Franchise Tax Public Information Report. See Doc 17, ¶ 11; Exhibit 1.

        17.      Plaintiffs’ Amended Complaint also pleads that Vahlberg is the self-declared

owner and CEO of LifeSpring Home Health, Hospice, and Personal Services/LifeSpring In

Home Care Network (presumably the assumed name for Defendant LifeSpring Home Care and




Plaintiffs’ Response to Defendants’ Motion to Dismiss                                            Page 5
       Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 6 of 22




Hospice, LLC) as stated on her LinkedIn profile. See Doc 17, ¶ 11; Exhibit 3 (LinkedIn profile

page for Karen Vahlberg).

        18.      Plaintiffs also make a prima facie showing that the Court has personal jurisdiction

over LifeSpring. “When the actual content of communications with a forum gives rise to

intentional tort causes of action, this alone constitutes purposeful availment. The defendant is

purposefully availing himself of ‘the privilege of causing a consequence’ in Texas.” Wien Air

Alaska, Inc. v. Brandt, 195 F.3d 208, 213 (5th Cir. 1999). Here, Plaintiffs plead that “LifeSpring

Home Care” appears as the name of the employer on Plaintiffs’ earnings statements (pay stubs)

that Plaintiffs receive(d) every pay period. See Doc. 17, ¶ 9. Thus, as the employer listed on the

pay stubs every month, LifeSpring has, and continues to, purposefully avail itself to Texas’

jurisdiction. See Exhibit 4 (Pay Stubs for Castillo and Melendez).

        19.      Simply claiming that Plaintiffs’ allegations are “generalized” does not make them

so, nor does it mean that Plaintiffs failed to carry their pleading burden. See Doc. 28 at 6. Rather,

the specific facts pleaded in Plaintiffs’ Amended Complaint—showing the joint and interwoven

nature of the employment relationship between Defendants, and that Defendants’ relationships

and contacts with Texas are not merely a corporate function—satisfy Plaintiffs’ pleading burden

on making a prima facie showing that the Court has specific jurisdiction over Defendants, and

Defendants’ Motion to Dismiss under Rule 12(b)(2) should therefore be denied.

    C. Plaintiffs’ First Amended Complaint adequately pleads facts showing Defendants
       are employers within the meaning of the Fair Labor Standards Act.

        20.      In deciding whether distinct entities are joint employers, courts consider “(1) the

interrelation of operations; (2) centralized control of labor relations; (3) common management;

and (4) common ownership or financial control.” Willshire v. HK Mgmt., No. CIV.A. 3:04-CV-




Plaintiffs’ Response to Defendants’ Motion to Dismiss                                          Page 6
         Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 7 of 22




0090B, 2004 WL 2974082, at *3 (N.D. Tex. Dec. 16, 2004) (citing Trevino v. Celanese Corp.,

701 F.2d 397, 404 (5th Cir.1983)).

         21.      Plaintiffs’ First Amended Complaint sufficiently pleads facts alleging that each

Defendant is an employer within the meaning of the Fair Labor Standards Act. Specifically,

Plaintiffs’ Amended Complaint pleads that Defendants are joint employers of Plaintiffs as

defined under the FLSA1 and that as an economic reality, upon information and belief, each

Defendant had the ability to hire or fire plaintiffs, supervise or control Plaintiffs’ work schedules

or conditions of employment to a substantial degree, determine Plaintiffs’ rate and method of

payment, and maintain Plaintiffs’ employment records. See Doc. 17, ¶ 3.

         22.      Defendants argue that Plaintiffs have a heavy burden to rebut a “presumption of

institutional independence.” Doc. 28 at 7. Not so. Plaintiffs have no such burden at this stage,

and it would be impractical for a plaintiff to plead facts in support of the Hargrave factors at the

complaint stage. See Doc. 28 at 7; Hargrave v. Fibreboard Corp., 710 F.2d 1154, 1159 (5th Cir.

1983).

         23.      The specific allegations contained in Plaintiffs’ First Amended Complaint,

combined with the exhibits attached hereto, show that the Court has jurisdiction and that

Defendants are joint employers. Accordingly, Plaintiffs request that the Court deny Defendants’

Motion to Dismiss under 12(b)(2) and (6).




1
  The FLSA defines “employer” as “any person acting directly or indirectly in the interest of an employer in relation
to an employee and includes a public agency, but does not include any labor organization (other than when acting as
an employer) or anyone acting in the capacity of officer or agent of such labor organization.” 29 U.S.C. § 203(d).

Plaintiffs’ Response to Defendants’ Motion to Dismiss                                                          Page 7
       Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 8 of 22




                                          III.     CONCLUSION

        24.      Because of the facts pleaded in Plaintiffs’ Amended Complaint, and for the

reasons set forth herein, Plaintiffs request that the Court deny in all respects Defendants’ Motion

to Dismiss.


                                                    Respectfully submitted,

                                                    By: /s/ Fernando M. Bustos
                                                       Fernando M. Bustos; SBN: 24001819
                                                       fbustos@bustoslawfirm.com
                                                       Brandon C. Callahan; SBN: 24096175
                                                       bcallahan@bustoslawfirm.com
                                                       Matthew N. Zimmerman; SBN: 24100386
                                                       mzimmerman@butsoslawfirm.com
                                                    BUSTOS LAW FIRM, P.C.
                                                    P.O. Box 1980
                                                    Lubbock, Texas 79408-1980
                                                    (806) 780-3976
                                                    (806) 780-3800 FAX

                                                    ATTORNEYS FOR PLAINTIFFS AND THE
                                                    FLSA COLLECTIVE


                                     CERTIFICATE OF SERVICE
        I hereby certify that I electronically filed this document with the Clerk of the Court, using
the electronic filing system of the Court, through the ECF system, and service was made to all
counsel of record using the ECF system on the date of filing.


                                                    /s/ Fernando M. Bustos
                                                    Fernando M. Bustos




Plaintiffs’ Response to Defendants’ Motion to Dismiss                                          Page 8
Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 9 of 22




                           Exhibit 1
Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 10 of 22




                             Exhibit 2
Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 11 of 22
Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 12 of 22
Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 13 of 22




                                          Exhibit 3
Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 14 of 22
Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 15 of 22
Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 16 of 22
                   Case
                   CO.   7:23-cv-00168-DC-RCG
                        FILE  DEPT. CLOCK VCHR. NO. Document 32 Filed 02/16/24 Page 17 of 22
                                                    062
                   AMA      000454    HMHERN               0000340008   1              Earnings Statement
                   Page     1(Con’t   Next Page)
                   LIFESPRING         HOME CARE                                        Period Beginning:       07/31/2023
                   2411 SPRINGER         DRIVE                                         Period Ending:          08/13/2023
                   NORMAN,         OK, 73069                                           Pay Date:               08/25/2023



                                                                                           MARILYN CASTILLO
                   Filing Status: Single/Married filing separately
                   Exemptions/Allowances:
                       Federal: Standard Withholding Table




                            rate        hours        this period        year to date                                   this period   year to date
Oncall                                                                                 401k
Rn Recert Vis                                                                          Cell Phone Sti
Rn Roc Visit                                                                           Child Life Ins
Rn Routine Vis                                                                         Insurance Accid
Rnsococvisi                                                                            Life Insurance
Weekend Pay                                                                            Life Insurnc Sp
Regular
Overtime
                                                                                       Cell Phone Sti
Case Confer
Case Mgmt                                                                              Net Pay
Discharge                                                                              Checking
Floating Holida
                                                                                       Net Check
Inservice
Paid Time Off
Reimbursement                                                                            Excluded from federal taxable wages
Sign On Bonus
Travel Time                                                                              Your federal taxable wages this period are
                  Gross Pay

                                                                                       Other Benefits and
                  Statutory                                                                                          this period     total to date
                  Social Security Tax                                                  401K Er Match
                  Medicare Tax
                                                                                       Totl Hrs Worked
                  Federal Income Tax

                                                                                       (405) 329-4545
                  Dental
                  Medical
                                                                                       BASIS OF PAY: HOURLY
                  Vis

                                                                                                                                       2000 ADP, Inc.




                   LIFESPRING HOME CARE                                                Advice number:                00000340008
                   2411 SPRINGER DRIVE                                                 Pay date:                     08/25/2023
                   NORMAN OK 73069



                   Deposited       to the account of                                   account number      transit    ABA                   amount
                   MARILYN      CASTILLO                                                                   xxxx xxxx




                                                                     Exhibit 4                     NON-NEGOTIABLE
Case
CO.   7:23-cv-00168-DC-RCG
     FILE  DEPT. CLOCK VCHR. NO. Document 32 Filed 02/16/24 Page 18 of 22
                                 062
AMA     000454    HMHERN                0000340008   1   Earnings Statement
Page    2
LIFESPRING       HOME CARE                               Period Beginning:   07/31/2023
2411 SPRINGER         DRIVE                              Period Ending:      08/13/2023
NORMAN,      OK, 73069                                   Pay Date:           08/25/2023



                                                             MARILYN CASTILLO
Filing Status: Single/Married filing separately
Exemptions/Allowances:
    Federal: Standard Withholding Table




Exemptions/Allowances:
 TX:             No State Income Tax




                                                                                          2000 ADP, Inc.




 CONTINUED FROM PRIOR PAGE
 YOUR VOUCHER IS PROVIDED ON PAGE 1



                                                                       NON-NEGOTIABLE
                   Case
                   CO.   7:23-cv-00168-DC-RCG
                        FILE  DEPT. CLOCK VCHR. NO. Document 32 Filed 02/16/24 Page 19 of 22
                                                    062
                   AMA     000437     HMHERN               0000360009   1              Earnings Statement
                   Page    1(Con’t    Next Page)
                   LIFESPRING        HOME CARE                                         Period Beginning:       08/14/2023
                   2411 SPRINGER         DRIVE                                         Period Ending:          08/27/2023
                   NORMAN,         OK, 73069                                           Pay Date:               09/08/2023



                                                                                           MELANIE MELENDEZ
                   Filing Status: Single/Married filing separately
                   Exemptions/Allowances:
                       Federal: Standard Withholding Table




                            rate        hours        this period        year to date                                   this period   year to date
After Hours                                                                            Vis
Case Mgmt                                                                              401k
Discharge                                                                              Cell Phone Sti
Rn Recert Vis                                                                          Mileage
Rn Routine Vis
Rnsococvisi
                                                                                       Cell Phone Sti
Weekend Pay
Overtime                                                                               Net Pay
Case Confer                                                                            Checking
Floating Holida
                                                                                       Net Check
Inservice
Oncall
Paid Time Off                                                                            Excluded from federal taxable wages
Rn Roc Visit
Sign On Bonus                                                                            Your federal taxable wages this period are
                  Gross Pay

                                                                                       Other Benefits and
                  Statutory                                                                                          this period     total to date
                  Federal Income Tax                                                   401K Er Match
                  Social Security Tax
                                                                                       Totl Hrs Worked
                  Medicare Tax

                                                                                       (405) 329-4545
                  Child Life Ins
                  Dental
                                                                                       BASIS OF PAY: HOURLY
                  Insurance Accid
                  Life Insurance
                  Medical

                                                                                                                                       2000 ADP, Inc.




                   LIFESPRING HOME CARE                                                Advice number:                00000360009
                   2411 SPRINGER DRIVE                                                 Pay date:                     09/08/2023
                   NORMAN OK 73069



                   Deposited       to the account of                                   account number      transit    ABA                   amount
                   MELANIE      MELENDEZ                                                                   xxxx xxxx




                                                                                                   NON-NEGOTIABLE
Case
CO.   7:23-cv-00168-DC-RCG
     FILE  DEPT. CLOCK VCHR. NO. Document 32 Filed 02/16/24 Page 20 of 22
                                 062
AMA     000437    HMHERN                0000360009   1   Earnings Statement
Page    2
LIFESPRING       HOME CARE                               Period Beginning:   08/14/2023
2411 SPRINGER         DRIVE                              Period Ending:      08/27/2023
NORMAN,      OK, 73069                                   Pay Date:           09/08/2023



                                                             MELANIE MELENDEZ
Filing Status: Single/Married filing separately
Exemptions/Allowances:
    Federal: Standard Withholding Table




Exemptions/Allowances:
 TX:             No State Income Tax




                                                                                          2000 ADP, Inc.




 CONTINUED FROM PRIOR PAGE
 YOUR VOUCHER IS PROVIDED ON PAGE 1



                                                                       NON-NEGOTIABLE
Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 21 of 22




                                                     Exhibit 5
Case 7:23-cv-00168-DC-RCG Document 32 Filed 02/16/24 Page 22 of 22
